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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES, INC.,

                 Plaintiff,                              CASE NO. 17-CV-00454-GKF-JFJ

          vs.                                            REDACTED – PUBLIC VERSION

   CASTLE HILL STUDIOS LLC, et al.

                 Defendants.


                              DEFENDANTS’ REPLY IN SUPPORT OF
                               MOTION TO COMPEL DISCOVERY

          Defendants Castle Hill Studios, LLC, Castle Hill Holdings, LLC, and Ironworks

   Development, LLC (collectively, “Defendants” or “Castle Hill”), submit this reply to Plaintiff

   Video Gaming Technologies, Inc.’s (“VGT”) opposition to Defendants’ motion to compel

   discovery. Defendants’ motion sought to compel VGT to do two things: (1) produce a witness to

   testify regarding VGT’s efforts to maintain compliance with National Indian Gaming

   Commission regulations pursuant to Federal Rule of Civil Procedure 30(b)(6); and (2) produce

   un-redacted copies of its agreements with tribes regarding the placement of VGT games in

   casinos.

          VGT’s opposition to the motion makes little effort to offer any justification for its refusal

   to provide the requested discovery. Instead, VGT incredibly attempts to shift the blame back to

   Castle Hill for VGT’s own discovery failures. This sort of gamesmanship is contrary to the rules

   and should not be rewarded. Castle Hill timely requested the information it now seeks through

   motion during fact discovery. The information sought is properly within the scope of discovery

   and must be produced.
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   I.     Information Regarding VGT’s Compliance With NIGC Regulations is Relevant and
          Discoverable

          Castle Hill is entitled to depose a VGT corporate designee regarding VGT’s compliance

   with NIGC minimum technical standards. As set forth in Castle Hill’s motion, this information

   is relevant to at least Castle Hill’s illegality and unclean hands defenses. As remedies in this

   action, VGT seeks Castle Hill’s revenues from its allegedly infringing games, as well as “unjust

   enrichment” damages for Castle Hill’s alleged “avoided” research and development costs. In

   seeking equitable relief, the question of whether VGT is operating thousands of its own games

   illegally is clearly relevant. Section 1117(a) remedies are awarded “subject to the principles of

   equity.” 15 U.S.C. § 1117(a). Thus, an award of a defendant’s profits is not automatic. See

   Champion Spark Plug Co. v. Sanders, 331 U.S. 125, 131 (1947); Bambu Sales, Inc. v. Testini,

   No. 87-CV-3190, 1988 WL 138055 (E.D.N.Y. Dec. 21 1988) (plaintiff’s illegal sales can

   diminish recovery under equitable principles even where plaintiff is seeking defendant’s profits).

   VGT does not legitimately contend otherwise; it just does not want Castle Hill to dig further into

   this issue because it knows that the vast majority of its games are,

                                                                     .

          Instead, VGT asserts that because Castle Hill questioned certain VGT fact witnesses

   regarding compliance issues, further discovery would be a “waste of time.” See VGT Opp’n

   (Dkt. 123) at 8. As an initial matter, nothing in the federal rules requires Castle Hill to forego

   Rule 30(b)(6) testimony simply because fact witness testimony has addressed a similar topic.

   Castle Hill has developed a factual record through questioning various fact witnesses and is now

   entitled to the corporate designee testimony of VGT. Further, the VGT witnesses who testified

   on this topic gave testimony that was both incomplete and inconsistent. For example, VGT’s VP

   of Gaming Compliance, Richard Williamson, explained that to qualify for “grandfather” status



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   under the NIGC’s minimum technical standards,

                                                             . See Ex. 1, Williamson Dep. at 62:10-

   63:19.



                       . Id. at 63:18-23. Another of VGT’s witnesses, a product manager, testified

   that it was his understanding that the “grandfather” provision applied

                                                                                         See Ex. 2,

   Harvie Dep. at 55:24-56:22. VGT President Jay Sevigny, meanwhile, testified that in order to

   measure NIGC compliance,

                               See Ex. 3, Sevigny Dep. at 191:23-192:9.




                                                        Id. at 194:5-11.

            As set forth above, the testimony of VGT witnesses on the topic of NIGC compliance has

   been incomplete and internally inconsistent.       Castle Hill is entitled to corporate designee

   testimony from a witness who has been prepared to testify as to Topic 7 of its Rule 30(b)(6)

   notice and give testimony binding on VGT. None of the prior fact witnesses were prepared to do

   so. To the extent VGT argues that offering such testimony would be “burdensome” at this point

   in time, that is a burden VGT has created by refusing to timely produce a witness in response to

   the deposition notice. As set forth in Castle Hill’s motion, in an attempt to resolve the current

   dispute, Castle Hill offered to forego Rule 30(b)(6) testimony on Topic 7 if VGT would provide

   certain information in the form of a declaration. See Mot. (Dkt. 118) at Ex. B, H. Platt email to

   M. Sawyer (July 29, 2018). VGT declined this suggested proposal.




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   understand both VGT’s view of the governing regulations and the efforts it has made to comply

   with the same.

          In its opposition, VGT uses the catch-phrases “satellite litigation” and “mini-trial” in an

   attempt to remove the issue of its regulatory compliance from the scope of this dispute. These

   efforts are unavailing. VGT filed this lawsuit and alleged that Castle Hill’s entry into the

   Oklahoma Class II EGM market has negatively impacted VGT and its presence in the Class II

   market. Castle Hill is clearly entitled to explore whether, as VGT’s documents admit, out of

   thousands of EGMs in Oklahoma, only a small sliver of VGT’s games are legally operating.

   This is by no means “satellite litigation.” This issue is central to the claims VGT has asserted in

   this case, is central to VGT’s entitlement to the remedies it is seeking, and is central to Castle

   Hill’s defense.

          If VGT’s games are truly fully-compliant with all NIGC regulations, as it asserts in its

   opposition, then VGT should have simply produced the requested 30(b)(6) designee and given

   the testimony. If things are as VGT says they are, then this further discovery should prove of

   little use to Castle Hill in its defense. But VGT clearly does not want such discovery to occur.

   VGT’s absolute refusal to provide testimony, however, does not affect the permissible scope of

   discovery. There can be no serious question that Castle Hill’s request for 30(b)(6) testimony on

   the topic of VGT’s compliance with NIGC regulations is properly within the scope of discovery

   in this case. Castle Hill’s motion should be granted on this basis.

   II.    VGT Offers No Justification for its Decision to Withhold Relevant Information and
          Produce Only Redacted Versions of its Agreements With Tribes

          VGT’s opposition makes no attempt to explain why it chose to produce only redacted

   versions of its agreements with its tribal customers. As set forth in Castle Hill’s motion, Castle

   Hill requested those documents on February 6, 2018. Despite having obtained copies of Castle



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   Hill’s agreements with its tribal customers, VGT refused to produce its tribal agreements

   (notwithstanding repeated assurances that it would be doing so) and dragged its feet for months

   until it buried them within an 8,000 page document production made on July 27, 2018, only

   seven days before the close of discovery.

          Not one single time between February 6th and July 27th did VGT indicate to Castle Hill

   that it would be producing only redacted versions of the documents. For this reason alone, any

   objection VGT has to production of the complete documents has been waived. Even now, it

   remains unclear what VGT’s basis for its redactions are. VGT’s opposition points to no timely-

   stated objection that VGT made during discovery that would justify any redactions. Indeed,

   VGT made no such timely objections to the production of its tribal agreements. To the contrary,

   VGT affirmatively agreed to produce the agreements, and provided Castle Hill with absolutely

   no advance notice that it was going to redact information from the documents. When Castle Hill

   inquired on the eve of discovery closing why the agreements had not been produced, VGT’s

   response was:                                                                     See Mot. (Dkt.

   118) at Ex. B (July 27 Email from M. Sawyer). VGT’s decision to then produce only redacted

   versions is pure gamesmanship that is completely unsupported by the rules.           Unredacted

   documents must be produced.

          In its opposition, VGT offers two “arguments” in support of its refusal to provide the

   tribal agreements. First, VGT argues, the information in its tribal agreements is “not relevant.”

   See Opp’n at 13. This is an incredible argument that is belied by the fact that VGT requested

   Castle Hill’s agreements with tribes (which Castle Hill produced in April in un-redacted form).

   If information regarding relationships with tribes is “not relevant”, then why did VGT’s counsel

   email Castle Hill on July 24, 2018 to identify four specific tribal agreements that it believed




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   Castle Hill still needed to produce? See Mot. (Dkt. 118) at Ex. B (July 24, 2018 Email from R.

   Dalton). In fact, and as Castle Hill informed VGT in response to Ms. Dalton’s email, Castle Hill

   had already produced the four documents in question. VGT, meanwhile, did not produce its

   agreements for several more days, and then only did so in redacted form – again, without any

   forewarning to Castle Hill or any indication of what had been redacted or VGT’s basis for doing

   so. The fact that VGT requested and received this information from Castle Hill is reason alone

   to order VGT to produce the same information.

          Additionally, VGT has alleged that Castle Hill’s games “often appear in the same casinos

   as the VGT 3-Reel Mechanical Games.” (Compl. ¶ 85). VGT further alleges that “CHG sales

   representatives seek the placement of CHG’s games in the middle of VGT games to increase the

   likelihood that players will confuse the Infringing Games with VGT games.” (Compl. ¶ 87).

   Castle Hill is entitled to unredacted copies of VGT’s agreements with its tribal customers to

   learn about the terms under which VGT places its EGMs with those customers, and in order to

   fairly respond to and to defend against these allegations by VGT. Since VGT has Castle Hill’s

   agreements, it already has the documents on both sides of this equation that is relevant to these

   allegations. VGT’s efforts to deprive Castle Hill of the opportunity to the same evidence is

   unwarranted and unduly prejudicial. The agreements are material to the litigation and are

   discoverable, and should be produced as requested and agreed.

          VGT’s purported “relevance” argument is also completely untimely. If VGT wanted to

   object to the relevance of its agreements with tribes, it could and should have done so between

   February 6th and July 27th, but it chose not to. Instead, it affirmatively represented on multiple

   occasions that the tribal agreements were being produced, without ever explaining that

   redactions would be made. Now, incredibly, VGT asserts that Castle Hill is not entitled to the




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   redacted information unless Castle Hill can “explain the relevance of the redacted information.”

   See Opp’n at 13. That is of course not the standard for discovery, and the idea that Castle Hill is

   required to “explain the relevance” of information it has not yet seen or reviewed is absurd.1 The

   tribal agreements are properly within the scope of discovery in this case. VGT does not assert

   otherwise. They must be produced in their entirety.

           As VGT President Jay Sevigny explained during his deposition, VGT considers the

   Native American tribes to be its “customers”, and the leases it enters with those tribal customers

   include things such as

                                                                     Ex. 3, Sevigny Dep. at 44:6-8.

   Meanwhile, VGT’s 30(b)(6) designee on the topic of the relief VGT is seeking from Castle Hill

   for its claims in this case explained that one of the ways VGT alleges it has “suffered” as a result

   of Castle Hill’s allegedly infringing game titles is:



                                                                 Ex. 5, Kovach Dep. at 28:25 – 29:4.

   VGT’s                              is directly related to the relationships it has with the Native

   American tribes. Castle Hill is entitled to complete information regarding those relationships.

           The only other justification VGT offers for withholding of information regarding its tribal

   agreements is that the agreements contain “highly sensitive” information. But, as VGT is well

   aware, the parties have a stipulated protective order in this case, and both parties have been


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           While it is impossible for Castle Hill to discern exactly what VGT chose to redact,
   VGT’s redactions appear to encompass things such as the term of the agreement (number of
   months/years); the financial arrangement (fees paid by VGT to the tribe, profit-sharing based on
   game performance, etc.); information regarding the number and title of VGT games the tribe
   agrees to place on the casino floor; and information regarding certain performance metrics that
   VGT games must meet or else risk being removed by the casino. Representative samples of the
   nearly 100 redacted agreements VGT produced are included as Exhibits 6-8.


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   producing documents to one another with various confidentiality designations, including a

   “Highly Confidential” designation (essentially “Attorneys Eyes Only”). The protective order

   offers VGT all the protection it needs to prevent disclosure of sensitive information. To the

   extent VGT believes otherwise, the burden was on it to timely object and explain what

   information it felt could not be protected by the governing order, and why that information

   needed to be redacted. VGT failed to do so prior to producing the redacted agreements and

   further failed to do so in its opposition. VGT must produce the requested documents, as it

   promised to do many months ago.

   III.   Conclusion

          For the foregoing reasons, Castle Hill respectfully requests that the Court order VGT to

   produce the requested documents to Castle Hill and to designate a witness to provide Rule

   30(b)(6) testimony as set forth above.


   Dated: August 27, 2018                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of August, 2018, a copy of the foregoing
  DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO COMPEL – REDACTED
  PUBLIC VERSION was served via the Court’s ECF system on the following:

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